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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 1:23-cv-20719-RNS

  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

  vs.

  BKCOIN MANAGEMENT, LLC,
  MIN WOO KANG a/k/a “KEVIN” KANG,

         Defendants, and

  BKCOIN CAPITAL, LP,
  BK OFFSHORE FUND, LTD.,
  BKCOIN MULTI-STRATEGY
  MASTER FUND LTD.,
  BKCOIN MULTI-STRATEGY FUND, LP,
  BKCOIN MULTI-STRATEGY FUND LTD., AND
  BISON DIGITAL LLC,

        Relief Defendants.
  _____________________________________/

          THIRD-PARTY ALEJANDRO CANTO’S MOTION TO INTERVENE
        AND TO LIFT STAY OF LITIGATION AGAINST CARLOS BETANCOURT

         Alejandro Canto is the plaintiff in a class action case against BKCoin Management, LLC,

  Kevin Kang, and Carlos Betancourt filed on October 17, 2022 and currently pending in the

  Southern District of New York. See Canto v. BKCoin Mgmt. et al, No. 1:22-cv-08858 (S.D.N.Y.)

  (hereinafter “Canto v. BKCoin”). Mr. Canto seeks to intervene in this matter solely for the limited

  purpose of requesting that the Court lift the litigation stay against a non-party to this action—

  Carlos Betancourt. In support thereof, Mr. Canto states the following:
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                                          BACKGROUND

            Alejandro Canto maintained a Separately Managed Account (“SMA”) with BKCoin

  Management, LLC (“BKCoin”), after executing Investment Management Agreements with

  BKCoin on March 16, 2020, and December 7, 2020. Mr. Canto’s Agreements were signed by

  Carlos Betancourt on behalf of BKCoin. At their height, Mr. Canto’s investment accounts with

  BKCoin were worth more than $11 million. But when the crypto markets began to see downturns,

  BKCoin ceased regularly updating Mr. Canto about his investment portfolio, and began raiding

  his portfolio through unauthorized margin calls. Mr. Canto’s investigation into the

  mismanagement of his portfolio revealed some of the violations that form the basis of the

  Securities Exchange Commission’s Complaint for Injunctive and Other Relief (ECF No. 1),

  against BKCoin and Min Woo “Kevin” Kang.

            As early as August 2022, Mr. Canto, through undersigned counsel, was in communication

  with BKCoin’s counsel regarding his investment portfolio and BKCoin’s, and its two managing

  members’ (Kang and Betancourt) breaches of their fiduciary duties. BKCoin and its counsel

  eventually ceased communications with Mr. Canto, prompting the filing of his lawsuit. See

  Complaint, Canto v. BKCoin, ECF No. 3. After initiating his lawsuit, Mr. Canto, through

  undersigned counsel, discovered additional information regarding BKCoin’s widespread

  mismanagement of its investors’ funds and filed a First Amended Class Action Complaint on

  January 20, 2023. See First Amended Class Action Complaint, Canto v. BKCoin, ECF No. 28

  attached hereto as Exhibit A. Among other counts, Mr. Canto’s complaint brings claims against

  Mr. Betancourt in his individual capacity on behalf of Mr. Canto and as a representative for the

  putative class. See id. At present, counsel for Mr. Canto, Kozyak, Tropin, & Throckmorton LLP

  (“KTT”), is the only firm representing a proposed nationwide class of investors against BKCoin



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  and its principals. KTT has substantial experience litigating class actions including matters

  representing investors in Ponzi schemes or other matters.1 Betancourt failed to file any responsive

  pleading to Canto’s First Amended Class Action Complaint and a clerk’s default was entered

  against him on February 17, 2023. See Clerk’s Certificate of Default as to Carlos Betancourt, Canto

  v. BKCoin, ECF No. 37.

            Shortly after Mr. Canto initiated his lawsuit, Mr. Betancourt, on behalf of BKCoin, filed

  an emergency petition in Florida state court on October 28, 2022, seeking the appointment of a

  receiver. See Emergency Petition for Appointment of Receiver, BKCoin Management, LLC, et al

  v. BKCoin Multi-Strategy Fund, Ltd., et al, No. 2022-020760-CA-01 (Fla. 11th Cir. Ct. Oct. 28,

  2022) [hereinafter BKCoin State Court Litigation], ECF No. 5. The petition alleged that BKCoin’s

  other managing member, Mr. Kang, misappropriated money from the Multi-Strategy Funds. Id. at

  4–5. On November 2, 2022, Michael I. Goldberg, Esq. was appointed as temporary receiver of the

  Multi-Strategy Funds. See Ex Parte Order Appointing a Temporary Receiver, BKCoin State Court

  Litigation, ECF No. 6. Thereafter, on November 18, 2022, the receiver filed a motion to expand

  the receivership to include BKCoin. See Expedited Verified Motion by Receiver Michael I.

  Goldberg to Expand Receivership, BKCoin State Court Litigation, ECF No. 18.

            On February 23, 2023, the SEC filed this action against BKCoin and Mr. Kang under seal.

  See Complaint for Injunctive and Other Relief, SEC v. BKCoin Mgmt., LLC, et. al, No. 1:23-CV-

  201719 (S.D. Fla. Feb. 23, 2023) [hereinafter SEC v. BKCoin], ECF No. 1. On February 24, 2023,

  this Court entered an Order Appointing Receiver (hereinafter the “Receivership Order”), which

  appointed Michael I. Goldberg, Esq., and stayed all litigation against BKCoin and “any of the



  1
   See e.g. In re Woodbridge Investments Litigation, No. 18-cv-00103 (C.D. Cal.) (KTT served on
  Executive Committee on behalf of investors suing Comerica Bank for aiding and abetting a Ponzi
  scheme).

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  Receivership defendants and Relief Defendants’ past or present officers, directors, managers,

  agents, or general or limited partners sued for, or in connection with, any action taken by them

  while acting in such capacity of any nature.” (ECF No. 8). The SEC filings were unsealed and

  publicly filed on or about March 6, 2023, and the Receiver filed a notice of the Order Appointing

  Receiver in Canto v. BKCoin that same day. See Notice of Filing Order Appointing Receiver,

  Canto v. BKCoin, ECF No. 38. It was at this time when Mr. Canto first learned that his and all

  class members’ claims against not only Defendants BKCoin and Mr. Kang would be subject to the

  litigation stay, but also their direct claims against Mr. Betancourt—a non-party to the SEC

  litigation—would also be stayed.

            Mr. Canto does not seek to interfere with the SEC’s litigation against the Defendants or

  Relief Defendants or to interfere with the duties and responsibilities of the Receiver. Indeed, Mr.

  Canto had already voluntarily agreed to stay any claims against BKCoin after the filing of the

  BKCoin State Court Litigation—prior to the commencement of this matter and the litigation stay

  entered by this Court.2 Mr. Canto seeks to pursue a final judgment against Mr. Betancourt on

  behalf of himself and other similarly situated class members. At this time, Mr. Canto has only

  obtained a certificate of default against Mr. Betancourt which could still be vacated by the court.

  Mr. Canto should be entitled to conduct discovery to establish Mr. Betancourt’s liability for

  damages to Mr. Canto and the class members and to determine if there are any third parties that

  aided and abetted Mr. Betancourt in his personal breaches of fiduciary duties and fraud.

            As it stands, the only persons or entities that are benefiting from the Receivership’s

  complete stay of litigation is Mr. Betancourt and those who may have aided and abetted his



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   The First Amended Complaint in Mr. Canto’s case filed on January 20, 2023, notes that he was
  not seeking any relief against BKCoin because of the pending receivership action filed in the state
  court in Miami. See Exhibit A at 1 n.1.

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  unlawful conduct. Mr. Canto and the class he represents is the only action bringing claims against

  Mr. Betancourt and, as stated above, will have no effect on the SEC or the Receivership.

             Accordingly, Mr. Canto on behalf of himself and the proposed nationwide class, seeks to

  intervene in the instant action and respectfully requests a partial lift of this Court’s order to stay

  litigation as to Mr. Betancourt only.

                                               ARGUMENT


      I.        THE COURT SHOULD ALLOW MR. CANTO TO INTERVENE AS A
                MATTER OF RIGHT PURSUANT TO RULE 24(a) OF THE FEDERAL RULES
                OF CIVIL PROCEDURE.

             In the Eleventh Circuit, a party seeking to intervene as of right under Rule 24(a) of the

  Federal Rules of Civil Procedure “must show that: (1) his application to intervene is timely; (2) he

  has an interest relating to the property or transaction which is the subject of the action; (3) he is so

  situated that disposition of the action, as a practical matter, may impede or impair his ability to

  protect that interest; and (4) his interest is represented inadequately by the existing parties to the

  suit.” Bellitto v. Snipes, 2016 WL 5118568, at *1 (S.D. Fla. Sept. 21, 2016) (citing Chiles v.

  Thornburgh, 865 F.2d 1197, 1213 (11th Cir. 1989). “Once a party establishes all the prerequisites

  to intervention, the district court has no discretion to deny the motion.” U.S. v. State of Ga., 19

  F.3d 1388, 1393 (11th Cir. 1994).

      A. The Motion to Intervene is Timely.

             When considering the timeliness of a motion to intervene, the district courts consider four

  factors:

                    (1) the length of time during which the would-be intervenor knew
                        or reasonably should have known of his interest in the case
                        before he petitioned for leave to intervene;




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                   (2) the extent of prejudice to the existing parties as a result of the
                       would-be intervenor's failure to apply as soon as he knew or
                       reasonably should have known of his interest;

                   (3) the extent of prejudice to the would-be intervenor if his petition
                       is denied; and

                   (4) the existence of unusual circumstances militating either for or
                       against a determination that the application is timely.

  Bellitto, 2016 WL 5118568, at *2. The Eleventh Circuit has stated that “[t]imeliness is not a word

  of exactitude or of precisely measurable dimensions,” and “must have accommodating flexibility”

  in order for courts to “regulate intervention in the interest of justice.” Georgia v. U.S. Army Corps

  of Engr’s, 302 F.3d 1242, 1259 (11th Cir. 2002). Here, the weight of the four factors favors

  intervention. First, this motion is timely as it comes less than three weeks after the Receivership

  Order was unsealed and filed in Mr. Canto’s case, and only after Mr. Canto’s counsel first

  attempted to communicate with the Receiver. This matter was publicly unsealed on or about March

  6, 2023, and it was that same day when Mr. Canto learned that all of his and the class members’

  claims—including their individual claims against Mr. Betancourt—were subject to a litigation stay

  when the notice of the Receivership Order was filed in Canto v. BKCoin in the Southern District

  of New York. See Notice of Filing Order Appointing Receiver, Canto v. BKCoin, ECF No. 38.

            The Receivership Order included a stay of all litigation against “any of the Receivership

  Defendants and Relief Defendants’ past or present officers, directors, managers, agents. . .” ECF

  No. 8 at § VII. Mr. Canto had previously voluntarily stayed his claims against BKCoin and does

  not oppose a stay of his case against Mr. Kang. See Exhibit A at 1 n.1. However, Mr. Canto had

  no indication that a stay would also be instituted regarding Mr. Betancourt. Immediately after the

  filing of the Receivership Order, Mr. Canto’s attorneys reached out to Receiver’s counsel to

  discuss the effect of the Receivership Order on Mr. Canto’s and the class members’ litigation



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  against Mr. Betancourt. The Receiver’s counsel summarily responded that the entire case was

  stayed and there was nothing to discuss. Mr. Canto timely filed this motion thereafter.

            Intervention will also not cause any prejudice to the parties in this action. First, this matter

  has not progressed beyond the initial stages. See e.g., Bellitto, 2016 WL 5118568, at *2 (finding

  motion to intervene was timely, in part because, the existing parties would not be significantly

  prejudiced by intervention as the case had not progressed beyond initial pleading stage). Second,

  and more importantly, Mr. Canto seeks to intervene only for the limited purpose of lifting the stay

  against Mr. Betancourt—a non-party to this case. The SEC did not name Mr. Betancourt as a

  defendant in this action and does not seek to freeze any of Mr. Betancourt’s assets. (ECF No. 5)

  (“The Commission seeks an asset freeze and related relief against BKCoin Management, LLC and

  one of its two managing members, Min Woo Kang . . . .”) (emphasis added). Mr. Canto has

  pending claims on behalf of himself and the class he represents against the other managing

  member, Mr. Betancourt, in his individual capacity. See generally Exhibit A (alleging individual

  and class claims against Mr. Betancourt for, inter alia, breach of fiduciary duties and fraudulent

  misrepresentations). Lifting the stay for Mr. Canto to pursue his and the class members’ claims

  against Mr. Betancourt alone will not prejudice any parties to this action.

            Mr. Canto, and the class he seeks to represent will be prejudiced if not allowed to intervene

  for the limited purpose of seeking lift the litigation stay against Mr. Betancourt. As stated, Mr.

  Canto has brought direct claims against Betancourt in his individual capacity. Mr. Betancourt acted

  as Mr. Canto’s investment manager and was Mr. Canto’s direct contact within BKCoin, and, as

  such, owed him and the class members certain fiduciary duties that he breached. The SEC has not

  named Mr. Betancourt as a defendant in this matter nor has it sought to freeze his assets; however,

  the Receivership Order stays all litigation against him, including Mr. Canto’s and the class



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  members’ claims for breach of his fiduciary duties—claims that cannot be brought in the SEC

  action by the Receiver and for which Mr. Betancourt may be personally liable. See e.g., Isiah v.

  JPMorgan Chase Bank, 960 F.3d 1296, 1308 (11th Cir. 2020) (holding that the Receivership

  entities lacked standing to bring claims against certain third parties.); S.E.C. v. Provident Royalties,

  L.L.C., 2011 WL 2678840, at *2 (N.D. Tex. Jul. 7, 2011) (lifting stay to allow case to proceed

  against individual officers for their breach of fiduciary duties of care, good faith, and loyalty under

  state law).

            Fourth, there are no unusual circumstances in this case militating either for or against a

  determination that the motion to intervene was timely. In the simplest terms, Mr. Canto filed this

  motion a few weeks after learning that his claims against Mr. Betancourt were stayed and there

  will be no prejudice to the parties here—either the SEC or the Defendants—if the stay is lifted for

  the limited purpose of allowing individual claims to proceed against Mr. Betancourt.

      B. Mr. Canto’s Interests Were Affected by the Litigation Stay.

            As described above, Mr. Canto has brought individual claims against Mr. Betancourt, on

  behalf of himself and for a class of investors, and has a cognizable interest in litigating those claims

  to recover damages from Mr. Betancourt and anyone who aided and abetted his unlawful conduct.

  Those interests have now been affected by the Receivership Order and its broad litigation stay.

  Mr. Canto was diligently pursuing his claims against Mr. Betancourt prior to the filing of the

  Receivership Order. Importantly, Mr. Canto does not seek to interfere with the SEC or the

  Receiver’s actions to retrieve assets on behalf of investors. 3 He only seeks to litigate his individual

  claims against a non-party.




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    In fact, undersigned counsel previously informed the Receiver that they would readily agree to
  run any recovery for the investors through the Receivership .

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      C. The Litigation Stay Impedes and Impairs Mr. Canto’s Ability to Protect his and the
         Class Members’ Interests.

            As described herein, Mr. Canto seeks intervention only for the limited purpose of lifting

  the stay against Mr. Betancourt. Mr. Betancourt is not a defendant in this action, nor has the SEC

  sought to freeze his assets. (ECF No. 5). Indeed, Mr. Canto has brought individual claims against

  Mr. Betancourt for breach of fiduciary duty and fraudulent misrepresentations, among other things,

  that are outside of this action. The litigation stay, however, broadly applies to Mr. Betancourt and

  given that this matter was only recently filed, there is a strong possibility that the stay could go on

  for years. The stay impedes Mr. Canto from pursuing his and the class members’ legal claims

  against Betancourt. Those interests are not being protected or pursued by the SEC or the

  Receiver in this matter, and there is a strong possibility that if the stay is not lifted, Canto and the

  class members will have lost the opportunity to recover anything from Mr. Betancourt’s breach of

  his fiduciary duties and fraud. The statute of limitations clock is running.

            Moreover, allowing the litigation to continue against Mr. Betancourt may reveal third

  parties that assisted in his unlawful conduct. Mr. Canto has the ability to bring certain claims

  against third parties that the Receiver is barred from prosecuting. See Knauer v. Jonathon Roberts,

  Financial Group, Inc., 348 F.3d 230 (7th Cir. 2003) (Affirming the dismissal of claims brought

  by a receiver against a broker dealer for its role in a Ponzi scheme under the doctrine of in pari

  delicto). Further, the Receiver lacks standing to other claims that Mr. Canto has the ability to

  prosecute of behalf of himself and the class members. Isiah, 960 F.3d at 1308 (“In sum, we hold

  that Isaiah lacks standing to assert, on behalf of the Receivership Entities, claims against JPMC

  for allegedly aiding and abetting the Ponzi schemers’ breach of fiduciary duties, conversion, and

  fraud. [. . .] Isaiah's ability to pursue these claims is barred not by the doctrine of in pari delicto,

  but by the fact that the Receivership Entities were controlled exclusively by persons engaging in


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   and benefitting from the Ponzi scheme, and so the Receivership Entities were not injured by that

   scheme.”). The litigation stay impedes Mr. Canto’s ability to determine if such parties exist and to

   seek to recover damages on behalf of the class. Mr. Canto’s class action lawsuit is the only case

   seeking to protect those interests.

       D. Mr. Canto’s and the Class Members’ Interests are Inadequately Protected by the SEC
          and the Receiver.

             Mr. Canto and the class he seeks to represent have cognizable interests in adjudicating the

   legal claims they have against Mr. Betancourt. Neither the SEC nor the Receiver seeks to

   adjudicate those claims here—nor do they seek to protect them in any manner. Rather, they sought

   and were granted a stay which protects one of the two managing members of BKCoin and impairs

   Mr. Canto’s and the investors’ interests. As described above, Mr. Betancourt is not a named

   defendant in this matter nor has the SEC or the Receiver sought to freeze his assets. Simply put,

   Mr. Canto and the class members’ individual claims against Betancourt are not being prosecuted

   or protected and allowing intervention for the limited purpose of lifting the stay as to Betancourt

   will not affect the SEC’s case or the Receivership. Indeed, Mr. Canto does not seek to interfere

   with the Receiver’s duties to marshal assets for the investors: Mr. Canto is not seeking discovery

   from the Receiver and has readily agreed to the stay against BKCoin and Mr. Kang in the New

   York matter. Mr. Canto merely seeks the ability to litigate his and the class members’ individual

   claims against a non-party to this action—which the litigation stay prevents.

       II.      ALTERNATIVELY, THE COURT SHOULD ALLOW MR. CANTO TO
                PERMISSIVELY INTERVENE IN THIS MATTER.

             Permissive intervention under Rule 24(b) of the Federal Rules of Civil Procedure “is

   appropriate where a party’s claim or defense and the main action have a question of law or fact in

   common and the intervention will not unduly prejudice or delay the adjudication of the rights of



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   the original parties.” Mt. Hawley Ins. Co. v. Sandy Lake Properties, Inc., 425 F.3d 1308, 1312

   (11th Cir. 2005).

              Mr. Canto and the class members’ complaint asserts common questions of law and fact

   relating to the BKCoin entities and the unlawful dissipation of investor funds. (See Canto v.

   BKCoin, ECF No. 28). However, Mr. Canto’s seeks intervention only for the limited purpose of

   lifting the stay against Betancourt. As described herein, Betancourt is not a party to this matter, his

   assets have not been frozen by the SEC, and allowing Mr. Canto to pursue his and the class

   members’ individual claim against Betancourt will not prejudice the SEC, the Receiver, or the

   Defendants nor will it delay this litigation or the rights of any party thereto.

              WHEREFORE, Mr. Canto respectfully requests that the Court allow him to intervene in

   this matter for the limited purpose of requesting a lift of the litigation stay as to Mr. Betancourt.

       III.      MR. CANTO FULFILLS THE REQUIREMENTS TO LIFT THE STAY OF
                 LITIGATION AS TO MR. BETANCOURT.

              Lifting the stay of litigation as to Mr. Betancourt will only serve to protect the interests of

   the investors defrauded by BKCoin. It is well established that the purpose of a receivership is “to

   safeguard the assets, administer the property as suitable, and to assist the district court in achieving

   a final, equitable distribution of the assets if necessary.” See S.E.C. v. Vescor Capital Corp., 599

   F.3d 1189, 1194 (10th Cir. 2010) (quoting Liberte Capital Group, LLC v. Capwill, 462 F.3d 543,

   551 (6th Cir. 2006)). Here, allowing Mr. Canto to proceed with his litigation against Mr.

   Betancourt individually, will not infringe on the Receivership, the Receivership’s assets, or the

   Receiver’s ability to administer the same. Should Mr. Canto secure a recovery on behalf of himself,

   and the putative class members, any recovery will be against Mr. Betancourt in his individual

   capacity.




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             The Ninth Circuit articulated what has become the widely adopted test for lifting a stay of

   litigation where a receiver has been appointed. The Ninth Circuit held that the “factors to consider

   in deciding whether to except applicants from a blanket stay: (1) whether refusing to lift the stay

   genuinely preserves the status quo or whether the moving party will suffer substantial injury if not

   permitted to proceed; (2) the time in the course of the receivership at which the motion for relief

   from the stay is made; and (3) the merit of the moving party's underlying claim.” S.E.C. v. Wencke,

   et. al 742 F.2d 1230, 1231 (9th Cir. 1984) (internal citations omitted). The requisite factors to lift

   the stay of litigation as to Betancourt are present in this case and accordingly, the stay as to

   Betancourt should be lifted.

             A. Lifting the Stay Against Mr. Betancourt will not Change the Status Quo.

             This factor “essentially balances the interests in preserving the receivership estate with the

   interests” of the movant. See S.E.C. v. Stanford Int'l Bank Ltd., 424 F. App'x 338, 341 (5th Cir.

   2011). It is undisputed that Mr. Betancourt is not a Defendant in this case and not subject to the

   Court’s asset freeze. (See ECF No. 5). Allowing Mr. Canto to proceed against Mr. Betancourt will

   not affect the Receivership or any Receivership assets nor will it affect the SEC’s litigation against

   the Defendants. Mr. Canto has brought claims against Betancourt (a nonparty in this matter) in his

   individual capacity. Lifting the stay as to Betancourt only will not disturb the “status quo” here as

   Mr. Canto’s litigation will focus solely on the liability of Betancourt and others who may have

   assisted his fraud. However, should the stay remain in place Mr. Canto and the proposed class

   members face the risk of not being able to timely pursue their claims against Mr. Betancourt and

   those who may have assisted in his unlawful conduct.




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             B. The Timing of this Motion does not Prejudice the Parties or Receiver.

             The timing of the instant Motion is inconsequential because, Mr. Canto’s claims, with

   respect to Betancourt, do not seek to disturb the frozen assets under the Receiver’s control. In this

   situation, there is no concern that Receiver would be “forced into court” to defend or protect the

   frozen assets4. See Vescor Capital Corp., 599 F.3d at 1198. As stated supra, any recovery against

   Betancourt would be in his individual capacity—which is outside of the Receivership. Moreover,

   neither the SEC nor the Defendants in this matter will be prejudiced. Mr. Betancourt is not a named

   Defendant in this case and the SEC has not sought to freeze his assets. Simply put, a limited lift of

   the stay to allow Mr. Canto and the class to pursue their claims against Betancourt will not

   prejudice, or even affect, this matter. The timing of this Motion is proper.

             C. The Claims that Mr. Canto Seeks to Litigate are Meritorious.

             Mr. Canto’s claims on behalf of himself and the proposed nationwide class are meritorious.

   Nevertheless, he is not required to show that he is likely to prevail on the meris, Canto must only

   show that he has “colorable claims to assert which justify lifting the receivership stay.” United

   States v. Acorn Tech. Fund, L.P., 429 F.3d 438, 443 (3d Cir. 2005) (citing Wencke II, 742 F.2d at

   1232). The claims that Mr. Canto and the class members have brought against Mr. Betancourt

   relate to Betancourt’s individual breaches of fiduciary duty and blatant fraud in his role as an

   investment manager with BKCoin and the dissipation of investors’ funds. (See Exhibit A). The

   evidence filed by the SEC in this case demonstrates that the claims Mr. Canto seeks to litigate are

   well founded.




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    Mr. Canto does not intend to pursue any discovery against the Receiver to avoid any burdens on
   the Receivership Estate absent any leave of this Court.

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                                             CONCLUSION

             Mr. Canto has the only case seeking to hold Mr. Betancourt accountable for his role and

   unlawful conduct relating the BKCoin fraud. Allowing Mr. Canto to pursue his and the class

   members’ claims against Betancourt will not affect this case or the Receivership’s assets. In fact,

   Mr. Canto has pledged to run any funds that may be recovered on behalf of the investors through

   the Receivership estate. The broad litigation stay serves to benefit only Mr. Betancourt and any

   entities or persons that may have assisted him. There is no clear reason to provide him that benefit.

             ACCORDINGLY, Mr. Canto respectfully requests that the Court allow him to intervene

   in this manner and further requests that the Court partially lift the stay of litigation as to Mr.

   Betancourt, and any other relief deemed just and proper.

   Dated: March 24, 2023.

                                      REQUEST FOR HEARING

             Mr. Canto requests that the Court set a hearing in this matter. A hearing will allow Mr.

   Canto to further explain the prejudice that he and the class members will suffer if not allowed to

   pursue their claims against Betancourt and would allow the SEC to explain why it has provided

   this benefit to Mr. Betancourt. Mr. Canto estimates that the hearing will take no more than 30

   minutes.

                                      L.R. 7.1(a) CONFERENCE

             Counsel for Alejandro Canto and the putative class he seeks to represent conferred with

   the Receiver and the SEC on March 22, 2023, via Email in a good faith effort to resolve the issues

   raised by this motion. The SEC has informed Mr. Canto’s counsel that they oppose the relief sought

   and the Receiver has stated that it takes no position on the relief requested herein.




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